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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                     NORTHERN DIVISION

CHRISTOPHER MALLETT
ADC #130750                                                     PLAINTIFF

v.                         No. 3:21-cv-157-DPM

JOHN K SPARKS, JR., Sgt., Grimes
Unit, ADC; RICHARD E. LEE, Lt.,
Grimes Unit, ADC; ROBERT FREEMAN,
Unit Chaplain, Grimes Unit, ADC; and
JOHN P. MOSS, Sgt., Grimes Unit, ADC                       DEFENDANTS
                                  ORDER
       The Court adopts Magistrate Judge Volpe's unopposed partial
recommendation, Doc. 36. FED. R.          CIV.   P. 72(b) (1983 addition to
advisory committee notes). Motion for partial summary judgment,
Doc. 21, granted. Mallett' s claims against Defendants Sparks, Lee,
and Moss will be dismissed without prejudice for failure to
exhaust the administrative remedies. Sparks, Lee, and Moss will
be dismissed without prejudice as defendants in this case.               The
claims against Defendant Freeman remain.
       So Ordered.

                                    D.P. Marshall Jr.
                                    United States District Judge
